        Case 1:22-cv-08853-JPC-RWL Document 148 Filed 12/01/23 Page 1 of 5




Andrew Greiner



November 30, 2023
Via Email to Temporary Pro Se Filing@nysd.uscourts.gov
The Honorable Robert W. Lehrburger
United States District Court
Southern District of New York
500 Pearl Street, Courtroom 18D
New York, NY 10007

         Re:      Hafizov v. BDO USA, LLP, et al.; Case No.: 1:22-cv-08853 (JPC)(RWL)

                       WITNESS’S MOTION TO SEAL CERTAIN DOCUMENTS

Dear Judge Lehrburger:
      I am a witness in the above-referenced matter. I am writing to respectfully submit this
Motion to Seal Certain Documents.
   I.          Specific Documents to Seal
         I respectfully request that the Court order the following documents be permanently sealed
in their entirety from public access only and with CM/ECF access permitted to the litigants’
counsel:
        Document 89, “Affidavit of Janet Bernier in Support of Defendant’s Surreply to
         Plaintiff’s Motion to Compel”, filed July 18, 2023, by Defendants BDO USA, P.C.
         (“BDO”), Janet Bernier, and Matthew Dyment (together, the “Defendants”); and

        This Motion.
       I also respectfully request that the Court order that, if any party wishes to file any future
documents that address the same subject matter of this Motion, such party must either (1) file
such documents under seal or (2) if filing without sealing, obtain my consent prior to filing.

   II.         Facts



      I am a tax attorney and a CPA. I was employed by BDO during 2018. During my
employment, I disclosed my disability to my supervisor, Janet Bernier, and requested certain
accommodations under the ADA.
Case 1:22-cv-08853-JPC-RWL Document 148 Filed 12/01/23 Page 2 of 5
     Case 1:22-cv-08853-JPC-RWL Document 148 Filed 12/01/23 Page 3 of 5




Sensory Path Inc. v. Fit and Fun Playscapes LLC, et al., No. 3:19CV219-GHD-RP, Doc.
202 (N.D. Miss. Jul. 18, 2022) (Order Granting Motion to Seal Certain Documents).
       ii.    Sealing of Sensitive Medical Information
        “The need to protect sensitive personal and medical information is among those that
courts have found to justify nondisclosure.” Williams v. Luminator Holdings, LP, No. 3:12-CV-
2975-M, 2012 WL 5878370, at *2 (N.D. Tex. Nov. 21, 2012), citing Abbey v. Hawaii Employers
Mut. Ins. Co. (HEMIC), 760 F.Supp.2d 1005 (D.Haw.2010), on reconsideration in part (Feb. 7,
2011) (finding that protecting medical privacy satisfied the “compelling” reason standard
governing motions to seal in the Ninth Circuit); Lombardi v. TriWest Healthcare Alliance Corp.,
CV 08– 02381, 2009 WL 1212170, at *1 (D.Ariz. May 4, 2009) (same); USA v. Pella, No. 2:06–
mj06RJJ, 2012 WL 5287898, at *1 (D.Nev. Oct. 24, 2012) (same); see also, Lima v. Wagner, No.
3:16-CV- 00074, 2018 WL 11198080, at *2 (S.D. Tex. Oct. 24, 2018) (“The public has no need
for access to documents that describe Lima's mental health condition and he possesses a strong
privacy interest in keeping the details of his mental health condition confidential.”).

       iii.   Confidentiality Requirement Under the ADA and the Rehabilitation Act
      The Rehabilitation Act of 1973 (Rehabilitation Act), as amended, 29 U.S.C. § 791 et seq.,
“was amended to provide that the standards used to determine whether nonaffirmative action
employment discrimination has occurred shall be the standards applied under Title I of the
ADA.” Bennett v. Potter, EEOC Appeal No. 0120073097 (Jan. 11, 2011) (citing Valle, EEOC
Request No. 05960585).
       …[Title I of the ADA] requires that all information obtained regarding the medical
       condition or history of an applicant or employee must be maintained on separate
       forms and in separate files and must be treated as confidential medical records. 42
       U.S.C. §§ 12112(d)(3)(B), (4)(C); 29 C.F.R. § 1630.14. These requirements also
       extend to medical information that an individual voluntarily discloses to an
       employer. See EEOC Enforcement Guidance on Disability-Related Inquiries and
       Medical Examinations of Employees under the Americans with Disabilities Act
       (ADA), No. 915.002, at 4 (July 26, 2000) (Guidance I). The confidentiality
       obligation imposed on an employer by the ADA remains regardless of whether an
       applicant is eventually hired or the employment relationship ends. See ADA
       Enforcement Guidance: Preemployment Disability-Related Questions and Medical
       Examinations, at 18 (October 10, 1995) (Guidance II). These requirements apply
       to confidential medical information from any applicant or employee and are not
       limited to individuals with disabilities. See Higgins v. Dep't of the Air Force, EEOC
       Appeal No. 01A13571 (May 27, 2003); Hampton v. U.S. Postal Serv., EEOC
       Appeal No. 01A00132 (Apr. 13, 2000).
       The ADA and its implementing regulations list the following limited exceptions to
       the confidentiality requirement: supervisors and managers may be informed
       regarding necessary restrictions on the work or duties of the employee and
       necessary accommodations; first aid and safety personnel may be informed, when
       appropriate, if the disability might require emergency treatment; and government
       officials investigating compliance with this part shall be provided relevant
      Case 1:22-cv-08853-JPC-RWL Document 148 Filed 12/01/23 Page 4 of 5




       information on request. 42 U.S.C. §§ 12112(d)(3)(B), (4)(C); 29 C.F.R. § 1630.14;
       Guidance I at 4. The Commission has also interpreted the ADA to allow employers
       to disclose medical information to state workers' compensation offices, state second
       injury funds, workers' compensation insurance carriers, and to health care
       professionals when seeking advice in making reasonable accommodation
       determinations. Guidance I at 4 n.10. Additionally, employers may use medical
       information for insurance purposes. Id.
       [Under this standard, it is] imprope[r for an employer to disclose an employee’s] …
       confidential medical information [pursuant to a discovery request in a civil action,
       even if] in response to [a] subpoena issued by [a federal district court]. Although
       not all medically-related information falls within the confidentiality provision,
       “documentation or information concerning an individual's diagnosis is without
       question medical information that must be treated as confidential except in those
       circumstances described in 29 C.F.R. Part 1630.” Lampkins v. U.S. Postal Serv.,
       EEOC Appeal No. 0720080017 (Dec. 8, 2009) (citations omitted). As noted above,
       the ADA only allows for the release of an applicant or employee's medical
       information in limited circumstances. A request for an employee's medical records
       pursuant to a discovery request in a civil action would not fit into one of the
       exceptions to the ADA's confidentiality requirement. Therefore, we find that the
       Agency's release of Complainant's confidential medical information constituted a
       violation of the Rehabilitation Act. See also Griffin v. Dep't of Homeland Sec.,
       EEOC Appeal No. 0120073832 (May 15, 2009) (finding that the Agency violated
       the Rehabilitation Act when management officials discussed Complainant's
       medical information in a public chat forum); Higgins, EEOC Appeal No. 01A13571
       (finding a violation of the Rehabilitation Act when the Agency placed confidential
       medical information from a physician documenting Complainant's diagnosis in a
       non-medical work file).
       [The fact that] the release of [an employee’s] medical information was required by
       legal compulsion [is not sufficient]. … [A]lthough the ADA allows an employer to
       comply with the requirements of another federal statute or rule, even if that statute
       or rule conflicts with the requirements of the ADA, 29 C.F.R. § 1630.15(e), it is not
       a valid defense to argue that [disclosures] were required by … law, unless the
       challenged confidentiality breach falls within one of the exceptions enumerated
       above or is otherwise permitted by the ADA. … [T]he Privacy Act allows for
       disclosure of an individual's records “pursuant to the order of a court of competent
       jurisdiction,” 5 U.S.C. § 552a(b)(11), but this exception does not apply [if] the …
       subpoena … did not qualify as an “order” for purposes of the Act. See also Doe v.
       DiGenova, 779 F.2d 74, 85 (D.C. Cir. 1985) (holding that subpoenas “do not qualify
       as ‘order[s] of a court of competent jurisdiction’ under 5 U.S.C. § 552a(b)(11),
       unless they are specifically approved by a court”). … [T]he fact that [a party] was
       not aware that [it] was precluded under the Rehabilitation Act from providing …
       medical information in [in the course of discovery] does not excuse the [party] from
       liability for a violation.
Id.
      Case 1:22-cv-08853-JPC-RWL Document 148 Filed 12/01/23 Page 5 of 5




   IV.      Analysis
        Sealing of the requested documents is necessary to protect against the public disclosure
of my sensitive personal and medical information. Document 89 and this Motion contain
references to my sensitive medical information.                                              , this
information is extremely sensitive and should not subject to public access. Moreover, I am not a
party to this action, and my personal medical information is not a dispositive issue in this case,
requiring only a showing of good cause to merit protection. As demonstrated by the above-
quoted authorities, my medical information clearly meets the standard for good cause and should
be protected from public scrutiny.
   V.       Conclusion
       For the foregoing reasons, I respectfully request that the Court enter an order placing
Document 89 and this Motion under seal from public view, inspection, and disclosure, and that
the contents of these filings only be made available to the Court, the Clerk of the Court, Counsel
of Record, and the parties hereto.
         RESPECTFULLY SUBMITTED, this the 30th day of November, 2023.


                                                     _______________________
                                                     Andrew Greiner
